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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    ATHENS DIVISION

UNITED STATES OF AMERICA,                                  )
ex. rel. RALPH D. WILLIAMS, UNITED                         )
STATES OF AMERICA, and STATE OF
                                                           )
GEORGIA,
                                                           )
Plaintiffs,                                                )
                                                           )
v.                                                         )           CIVIL ACTION NO.
                                                           )            3:09-cv-130 (CDL)
HEALTH MANAGEMENT ASSOCIATES,                              )
INC., et. al.,                                             )
                                                           )
Defendants.
                                                           )
                                                           )
                                                           )
                                                           )

                                      NOTICE OF SETTLEMENT

        COME NOW Plaintiffs United States of America, the State of Georgia and Relator Ralph

D. Williams (collectively “Plaintiffs”), and the Tenet Defendants 1 (collectively the “Parties”) 2,

acting by and through their respective counsel of record, hereby notify the Court as follows:

        The Parties have executed a settlement agreement (the “Settlement Agreement”)

(Attachment A).         Simultaneous with the execution of the Settlement Agreement, Tenet

HealthSystem Medical, Inc., a subsidiary of Defendant Tenet Healthcare Corporation, entered

into a Non-Prosecution Agreement (“NPA”) with the Department of Justice. On October 3,


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 The “Tenet Defendants” are Defendants Tenet Healthcare Corporation; Tenet Healthsystem GB, Inc. n/k/a Atlanta
Medical Center, Inc.; North Fulton Medical Center, Inc.; Tenet Healthsystem Spalding, Inc. n/k/a Spalding Regional
Medical Center, Inc.; and Hilton Head Health System, L.P.

2
  Hispanic Medical Management, Inc.; Clinica de la Mama, Inc.; Clinica de la Mama; Clinica de Bebe; International
Clinical Management Services, Inc.; and Cota Medical Management Group, Inc. have yet to file an answer.
Defendants Health Management Associates and Monroe HMA, LLC were dismissed by the Court pursuant to a
Stipulation of Dismissal on June 22, 2015 (ECF No. 193).
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2016, the United States filed an Information in the United States District Court for the Northern

District of Georgia in United States v. Atlanta Med. Ctr., Inc. & North Fulton Med. Ctr., Inc.

d/b/a North Fulton Hospital, Criminal Action No. 16-cr-350 (N.D. Ga.). On such date as may be

determined by the United States District Court for the Northern District of Georgia, Atlanta

Medical Center, Inc. and North Fulton Medical Center, Inc. will plead guilty pursuant to Fed. R.

Crim. P. 11 to the Information. The Settlement Agreement provides for payment no later than

ten (10) business days after the date of sentencing in the Criminal Action. Once the plaintiffs

receive payment, the Parties will file a stipulation of dismissal and proposed order with the

Court, which will provide for dismissal of the civil action in its entirety.



       Respectfully submitted this 3rd day of October, 2016.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a true and correct copy of the foregoing using

the Court’s CM/ECF system, which will automatically send email notifications of such filing to

the other attorneys of record in this case.

       This 3rd day of October, 2016.



                                       s/Aimee J. Hall
                                       AIMEE J. HALL
                                       ASSISTANT UNITED STATES ATTORNEY




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